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OF THE COURT NOV 7
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Attomeys for the United States of America
UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
OAKLAND DIVISION

UNITED STATES OF AMERICA, ex rel. ) Case No. C 14-4100-KAW
LAURIE M. HANVEY and STATE OF
CALIFORNIA ex rel. LAURIE M. HANVEY,) UNITED STATES’ AND STATE OF
) CALIFORNIA’S NOTICE REGARDING

Plaintiffs, ) ELECTION TO INTERVENE;
) [PROPOSED] ORDER TO UNSEAL
Vv. )
) FILED UNDER SEAL
SUTTER HEALTH, et al., )
Defendants.

 

 

 

1. Pursuant to 31 U.S.C. § 3730 (b)(4), the United States hereby notifies the Court that it

elects to intervene in part, for purposes of settlement, and decline in part in this False Claims Act

qui tam action.

U.S. & CALIFORNIA NOTICE RE ELECTION TO INTERVENE; [PRO D] ORDER, No. C 14-4100-KAW

 

 
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2. Pursuant to the California False Claims Act, California Government Code section
12652 (c)(8)(D)(iii), the State of California notifies the Court of its decision not to intervene in

this action.
3. The United States intervenes against Sac Cardio with respect to Sac Cardio’s billing of

Medicare, from May 1, 2011, through September 30, 2014, for services provided at Sutter Health
Sacramento Sierra Region d/b/a Sutter Medical Center, Sacramento (“SMCS”) by physician
assistants whose services Sac Cardio was leasing to SMCS. This conduct is referred to below as
the “Sac Cardio Covered Conduct.”

4, The United States has entered into a Settlement Agreement with Sac Cardio. This
Settlement Agreement will release Sac Cardio from liability for the Sac Cardio Covered
Conduct. After receiving payment of the settlement amount, the United States will dismiss its
claims against Sac Cardio for the Sac Cardio Covered Conduct, pursuant to the terms and
conditions of the Settlement Agreement.!

5. The United States declines to intervene in this action as to all other defendants and,
with respect to Sac Cardio, the United States declines to intervene as to all allegations not
encompassed by the Sac Cardio Covered Conduct.

6. Although the United States declines to intervene as to certain defendants and certain
allegations, we respectfully refer the Court to 31 U.S.C. § 3730(b)(1), which allows the relator to
maintain the action in the name of the United States; providing, however, that the “action may be

dismissed only if the court and the Attorney General give written consent to the dismissal and

 

' The United States has also entered into a Settlement Agreement with SMCS to resolve certain
claims not pending in this action.

U.S. & CALIFORNIA NOTICE RE ELECTION TO INTERVENE; [P ED] ORDER, No, C 14-4100-KAW

 

 
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their reasons for consenting.” Jd. The United States Court of Appeals for the Ninth Circuit has
held that, notwithstanding this language, the United States has the right only to a hearing when it
objects to a settlement or dismissal of the action. U.S. ex rel. Green v. Northrop Corp., 59 F.3d
953, 959 (9th Cir. 1995); U.S. ex rel. Killingsworth v. Northrop Corp., 25 F.3d 715, 723-25 (9th
Cir. 1994). Therefore, the United States requests that, should either Relator or Defendants
propose that any federal claims asserted in this action be dismissed, settled, or otherwise
discontinued, this Court provide the United States with an opportunity to be heard before ruling
or granting its approval.

7. Furthermore, 31 U.S.C. § 3730(c)(3) permits the United States to be served with
copies of all pleadings filed in the action. Accordingly, the undersigned government counsel will
file a Notice of Appearance for the purpose of receiving ECF notifications of filings in this case.
The United States reserves its right to order any deposition transcripts and to intervene in this
action, for good cause, at a later date. The United States also reserves its right to seek the
dismissal of the relator’s action or claim pursuant to 31 U.S.C. § 3730(c)(2)(A), and to request a
stay of discovery pursuant to 31 U.S.C. § 3730(c)(4).

8. California Government Code section 12652(c)(1) states that once filed, the action may
be dismissed only with the written consent of the Court and the California Attorney General. As
such, the State of California requests that it be given an opportunity to be heard before the Court
rules on, or grants its approval to, any settlement of state claims in this action. The State of
California also reserves its right to intervene in this action, for good cause, at a later date. (Cal.
Gov. Code § 12652(f)(2)(A).)

9. As set forth in Government Code section 12652(f)(1), the State of California requests

U.S. & CALIFORNIA NOTICE RE ELECTION TO INTERVENE; [PROP D] ORDER, No, C 14-4100-KAW

 
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that the parties serve the State of California with a copy of all pleadings subsequently filed in this
action. Upon request, the State of California shall be supplied with copies of deposition
transcripts at its expense.

10. Furthermore, in accordance with Government Code section 12656, the State of
California requests that the parties serve the State of California with a copy of the notice or
petition initiating any appeal and each paper, including briefs, filed in the appeal.

11. Finally, the United States and the State request that Relator’s Complaint, the
Summons, the Case Management Order, this Notice, and the attached proposed Order be
unsealed and that the seal be lifted as to all matters subsequently occurring in this action. We
request that all other papers on file in this action remain under seal because in discussing the
content and extent of the government’s investigation, such papers are provided by law to the
Court alone for the sole purpose of evaluating whether the seal and time for making an election
to intervene should be extended.

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U.S. & CALIFORNIA NOTICE RE ELECTION TO INTERVENE; [PROP D] ORDER, No. C 14-4100-KAW

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Case 4:14-cv-04400-KAW Document 43 Filed 11/18AL9 Page 5 of 7

Dated: October 3° , 2019

Dated: October 2S, 2019

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By:

 

Respectfully submitted,

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Assistant Attorney General, Civil Division

DAVID L. ANDERSON
United States Attorney

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SARA WINSLOW
Assistant United States Attorney

ANDY MAO

JAMIE YAVELBERG

ROHITH V. SRINIVAS

Attorneys, Civil Division

Attorneys for the United States of America

XAVIER BECERRA

Attorney General of the State of California

 
 
 

Deputy Attorney General
Attorneys for the State of California

U.S. & CALIFORNIA NOTICE RE ELECTION TO INTERVENE: [PROPOSED] ORDER, No. C 14-4100-KAW

 
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4+PROPOSEDT ORDER TO UNSEAL

The United States having declined to intervene in part in this action pursuant to the False
Claims Act, 31 U.S.C. § 3730(b)(4)(B), and the State of California having declined to intervene
in this action pursuant to California Government Code section 12652 (c)(8)(D)(ili), the Court
ORDERS as follows:

1. The complaint, summons, and case management order be unsealed and served upon
Defendants by Relator;

2. All other contents of the Court’s file in this action remain under seal and not be made
public or served upon Defendants, except for this Order and the accompanying Notice Regarding
Election to Intervene, which Relator will serve upon Defendants;

3. The seal be lifted as to all matters occurring in this action after the date of this Order;

4. Counsel for the United States and for the State of California shall file notices of
appearance in this action for the purpose of receiving ECF notifications of all pleadings and
motions filed in this action. The United States and the State of California may order any
deposition transcripts and are entitled to intervene in this action, for good cause, at any time; and

5. Should Relator or Defendants propose that this action be dismissed, settled, or
otherwise discontinued, the Court will provide the United States and the State of California with
an opportunity to be heard before ruling, in accordance with 31 U.S.C. § 3730(b)(1).

IT IS SO ORDERED.

par US /L9 Petal (DeiTeade

i KANDIS A. WESTMORE
United States Magistrate Judge

 

 

U.S. & CALIFORNIA NOTICE RE ELECTION TO INTERVENE; [PROR@SED] ORDER, No. C 14-4100-KAW

 
United States District Court
Northern District of California

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UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA, et al.,
Plaintiffs,

Vv.

SUTTER HEALTH, et al.,

Defendants.

 

 

I, the undersigned, hereby certify that:

Case No.: 4:14-cv-04100-KAW
*SEALED*

CERTIFICATE OF SERVICE

(1) I am an employee in the Office of the Clerk, U.S. District Court, Northern District of

California; and

(2) On 11/13/2019, ISERVED a true and correct copy(ies) of the attached, by placing said
copy(ies) in a postage paid envelope addressed to the person(s) hereinafter listed, by
depositing said envelope in the U.S. Mail, or by placing said copy(ies) into an
interoffice delivery receptacle located in the Clerk’s office.

Elizabeth S. Voorhies
Ofc Attorney General
1455 Frazee Rd Ste. 315
San Diego, CA 92108

Sara Winslow

United States Attorney's Office Northern District of California

450 Golden Gate Avenue
9th Floor, Box 36055
San Francisco, CA 94102

Dated: 11/13/2019

Susan Y. Soong
Clerk, United States District Court
s)

By: Gdnapuds Uda

JennifeYOttolini, Deputy Clerk to
the Honorable Kandis A. Westmore

 

 
